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                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF IDAHO

 THOMAS EUGENE CREECH,                   )        CASE NO. 1:24-cv-00066-AKB
                                         )
               Plaintiff,                )
 v.                                      )        MEMORANDUM IN SUPPORT
                                         )        OF MOTION TO EXPEDITE
 IDAHO COMMISSION OF PARDONS )                    DISCOVERY
 AND PAROLE; JAN M. BENNETTS, )
 Ada County Prosecuting Attorney, in her )
 official capacity,                      )        EXECUTION SCHEDULED
                                         )        FOR FEBRUARY 28, 2024
               Defendants.               )
                                         )
                                         )

      For the reasons that follow, Plaintiff Thomas Eugene Creech respectfully

moves to expedite discovery. Federal Rule of Civil Procedure 26(d)(1) empowers

courts to permit expedited discovery, before a rule 26(f) conference, upon a showing

of “good cause.” Allcare Dental Mgmt., LLC v. Zrinyi, No. CV-08-407-S-BLW, 2008

WL 4649131, *1 (D. Idaho Oct. 20, 2008); see Am. LegalNet, Inc. v. Davis, 673 F.

Supp. 2d 1063, 1066 (C.D. Cal. 2009) (applying good-cause standard); see also St.

Louis Group, Inc. v. Metals & Additives Corp., 275 F.R.D. 236, 239 (S.D. Tex. 2011)

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(“An increasing majority of district courts have . . . adopted a ‘good cause’ standard

to determine whether to authorize expedited discovery.”). Good cause exists “where

the need for expedited discovery, in consideration of the administration of justice,

outweighs the prejudice to the responding party.” Allcare Dental Mgmt., LLC, 2008

WL 4649131, at *1. To determine whether good cause exists, courts commonly

consider factors including, but not limited to: “(1) whether a preliminary injunction

is pending; (2) the breadth of the discovery requests; (3) the purpose for requesting

the expedited discovery; (4) the burden on the defendants to comply with the

requests; and (5) how far in advance of the typical discovery process the request was

made.” Am. LegalNet, 673 F. Supp. 2d at 1067; see also Apple Inc. v. Samsung Elecs.

Co., Ltd., 11-CV-01846-LHK, 2011 WL 1938154, at *1 (N.D. Cal. May 18, 2011). Mr.

Creech can satisfy each factor.

 I.   A motion for a preliminary injunction is pending.

      The first factor is whether a preliminary injunction is pending. “[E]xpedited

discovery is particularly appropriate when a plaintiff seeks injunctive relief because

of the expedited nature of injunctive proceedings.” Veeder-Root Fuelquest, LLC v.

Wisdom, No. 2:21-cv-00352-RAJ, 2021 WL 1209257, at *3 (W.D. Wash. Mar. 31,

2021) (quoting Ellsworth Assocs, Inc. v. United States, 917 F. Supp. 841, 844 (D.D.C.

1996)). Because of this, “courts have routinely granted expedited discovery in cases

involving challenges to constitutionality of government action.” Ellsworth Assocs.,

Inc., 917 F. Supp. at 844 (citing Optic-Electronic Corp. v. United States, 683 F.

Supp. 269, 271 (D.D.C. 1987)). Indeed, “courts often find good cause” for expedited


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discovery “when confronted with a pending motion for preliminary injunction.”

Facebook, Inc. v. Various, Inc., No. c-11-01805-SBA (DMR), 2011 WL 2437433, at *3

(N.D. Cal. June 16, 2011) (emphasis added). This only makes sense. Expedited

discovery “better enable[s] the court to judge the parties’ interests and respective

chances for success on the merits” – a judgment the Court needs to make when

evaluating whether to grant a preliminary injunction. Edudata Corp. v. Scientific

Computers, Inc., 599 F. Supp. 1084, 1088 (D. Minn. 1984) (granting expedited

discovery).

      Because Mr. Creech has filed a motion for preliminary injunction, see Dkt. 4,

this factor weighs heavily in his favor. Mr. Creech does not seek discovery in

advance of filing for a preliminary injunction. Cf. Human Rights Watch v. Drug

Enforcement Administration, No. CV-15-2573-PSG (JPRx), 2015 WL 13648069, at

*2 (C.D. Cal. July 10, 2015) (denying expedited discovery where “[p]laintiff has not

yet filed a preliminary injunction” but acknowledging that “courts often find good

cause when confronted with a pending motion for preliminary injunction” (emphasis

added) (citation omitted)). Instead, he has already filed his motion for preliminary

injunction, placing well-defined issues before the Court. The limited discovery he

now seeks is germane to the precise issues and claims in his preliminary-injunction

motion.

II.   The discovery sought is narrow.

      The second factor is the breadth of the discovery requests. Expedited

discovery is appropriate where it would “substantially contribute to moving [a] case


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forward” and is “narrowly tailored to this benefit.” Semitool, Inc. v. Tokyo Electron

America, Inc., 208 F.R.D. 273, 277 (N.D. Cal. 2002); see also Ellsworth Assocs., 917

F. Supp. at 844 (granting expedited discovery where “the material [sought] is

germane to [plaintiff’s] claims and the discovery . . . will expedite the resolution of

this matter”).

      Here, Mr. Creech’s discovery requests focus on specific and carefully

articulated categories of information that directly relate to his preliminary motion:

             a. Specific information related to the bases for the prosecution’s

                 assertions to the Idaho Commission of Pardons and Parole (“the

                 Commission”) during the commutation hearing about the murder of

                 Daniel Walker; the timeline and nature of the prosecution’s

                 investigation into the Walker murder; the prosecution’s

                 communications with San Bernardino authorities; and the

                 prosecution’s decision not to provide Mr. Creech with notice of the

                 claims it would be making about the Walker murder to the Idaho

                 Commission of Pardons and Parole. See Dkt. 4-1 at 4–15; 20–26.

             b. Requests targeted at the nature and provenance of the sock

                 depicted in the prosecution’s PowerPoint slide, including chain-of-

                 custody documentation; relevant police reports and photographs

                 prepared from the date of the crime to the date of the commutation

                 hearing; access to the physical evidence; and the original

                 photograph. See Dkt. 4-1 at 15–26.

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             c.   Information related to the Commission’s decision not to find a

                  replacement vote for the recused Commissioner. See Dkt. 4-1 at 26–

                  28.

       All of this requested discovery pertains directly to Mr. Creech’s legal claim.

       For instance, to examine the sock evidence that the prosecution presented to

the Commission, both an expert in photography and in handwriting would need a

higher quality photograph than the one featured in the PDF of the PowerPoint

slide. In order to assess the legitimacy of the photograph, photograph expert

Richard Quindry would need the original JPEG or RAW file from the camera that

took the photo. See Ex. 1 at 1. For handwriting expert Susan Abbey, direct access to

the sock would give her the ability to determine if the handwriting on the sock

matches Mr. Creech’s handwriting. See 2 at 1. Short of that, Ms. Abbey would at a

minimum require additional photos of the sock to make the comparison. Id. Both

experts’ analysis would directly support the portion of Mr. Creech’s claim related to

the sock. Dkt. 4-1 at 15–26. The narrowly-tailored, well-defined nature of Mr.

Creech’s expedited discovery requests weighs in favor of granting expedited

discovery in this case.

III.   The purpose of expedited discovery is appropriate.

       The third factor is the purpose of expedited discovery. This factor also weighs

heavily in favor of granting expedited discovery in this case. Mr. Creech’s requests

for expedited discovery are limited to the production of evidence supporting his

preliminary injunction motion. Narrowly focused, as they are, on facts that directly

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support his preliminary-injunction claims, his discovery requests go to the heart of

his motion for a preliminary injunction, and the Court should therefore grant Mr.

Creech’s request for expedited discovery. See Washington v. Lumber Liquidators,

Inc., No. 15-cv-01475-JST, 2015 WL 2089992, at *2 (N.D. Cal. May 5, 2015)

(“Because Plaintiffs seek development of the factual record in support of their

preliminary injunction, which seeks to preserve the status quo, the purpose for

which discovery is sought weighs in favor of expedited discovery.”).

IV.   The discovery sought would not be unduly burdensome.

      Mr. Creech’s requested expedited discovery is not unduly burdensome.

Conscious of the need for expedited action, Mr. Creech’s has carefully tailored his

discovery requests to minimize the burden on the State’s time and resources.

 V.   How far in advance of discovery the motion is filed

      Mr. Creech recognizes that the final factor, how far in advance of the typical

discovery process the request was made, cuts against his motion. However, he notes

that his death warrant was signed the day after the commutation decision was

rendered, the event triggering his complaint. Under those circumstances, it would

be unfair to punish Mr. Creech for the timing. In any event, this single factor does

not outweigh the strong showing Mr. Creech has made on the others, and the

motion remains meritorious.

VI.   Mr. Creech’s specific discovery requests

      To provide the Court with the most concrete possible understanding of the

discovery Mr. Creech wishes to pursue, he will outline representative examples of


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his requests below. With respect to each request or set of requests, Mr. Creech will

describe why the material is relevant to his motion for a preliminary injunction.

        A.   Depositions

        Depositions are a basic discovery tool under Federal Rule of Civil Procedure

30. 1 There are several depositions Mr. Creech considers necessary to the litigation

of his preliminary-injunction motion.

        First, Mr. Creech would depose Jill Longhurst. Ms. Longhurst was the lawyer

from the Ada County Prosecuting Attorney’s Office (“ACPO”) who took the lead on

advocating against clemency in Mr. Creech’s commutation proceedings. At the

January 19, 2024 commutation hearing, Ms. Longhurst was the person who told the

Commission that Mr. Creech was guilty of the Walker murder. She was also the

one who revealed the purported photograph of the murder-weapon sock for the first

time. As such, Ms. Longhurst is in possession of critical information regarding the

claims upon which Mr. Creech is seeking injunctive relief. See generally Dkt. 4-1 at

4–26.

        Second, Mr. Creech would depose Tom Taylor. Mr. Taylor appears to be the

source of the “new” information supposedly proving Mr. Creech’s guilt in the Walker

murder. See Dkt. 4-1 at 13. According to Mr. Taylor, the information in question

stems from interviews he conducted where Mr. Creech described killing a man in a




1 If the Court were unwilling to allow oral depositions under Rule 30, it could in the

alternative authorize written depositions pursuant to Federal Rule of Civil
Procedure 31.

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van in the Barstow, California area who had a diamond ring. See id. However,

undersigned counsel has no record of any such interview. See id. Therefore, it is

necessary to depose Mr. Taylor to ascertain the origins of this information, its

authenticity, and the reason it is only now surfacing fifty years later.

      Third, Mr. Creech would depose Wade Spain. Mr. Spain is an investigator for

ACPO. When the ACPO issued a press release on January 29, 2024, touting the

denial of clemency, it thanked Mr. Spain in particular, “as he was instrumental in

providing San Bernardino County with evidence that led to San Bernardino County

announcing Mr. Creech as the suspect in the” Walker case. Ex. 3. The question of

whether there is in fact any such evidence, and if so what it is, lies at the heart of

Mr. Creech’s Walker-related claim. See Dkt. 4-1 at 4–15.

       Fourth, Mr. Creech would depose the principal custodian of the sock that

was allegedly photographed. The preliminary-injunction motion raises the prospect

that the image of the sock presented to the Commission falsely depicted Mr.

Creech’s name on it. See Dkt. 4-1 at 15–20. Accordingly, it is essential that

undersigned counsel depose the custodian to investigate the circumstances under

which the sock was supposedly photographed, and possibly altered.

      Fifth, if time allowed, Mr. Creech would desire to depose the key actors in

San Bernardino, including Detective Justin Carty and Sergeant Justin Giles, see

Dkt. 4-4 at 1, San Bernardino Sheriff Shannon Dicus, and cold-case detective Greg

Myler, all of whom have direct knowledge of whether it was justified for the ACPO

to declare the Walker case solved and Mr. Creech the murderer.

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      B.      Requests for Productions

      Federal Rule of Civil Procedure 34 authorizes requests for production of

documents (RFPs). Mr. Creech will divide up his RFPs with reference to the three

different subjects they fall under: the sock; the Walker case; and the tie vote at the

Commission.

              1. Sock

      As set forth above, Mr. Creech intends to use discovery—if permitted—to

investigate whether the sock or the photograph of it were improperly modified. The

following material to be sought in RFPs would go directly to that area:

                 a. The original formatted version of the photograph used in the

                    PowerPoint slide of the sock, e.g., JPEG, RAW, etc. See Ex. 1.

                 b. Records related to the chain of custody of the photograph of the

                    socks used in the prosecutor’s PowerPoint slide.

                 c. Records that document the existence of any socks with Mr.

                    Creech’s name written on them.

              2. Walker Case

      The ACPO presented a slide at the commutation hearing and made the claim

that Mr. Creech murdered Daniel Walker, see Dkt. 4-1 at 4–5, and that the San

Bernardino County Sheriff’s Department (“SBSD”) had closed its case after a

thorough investigation, see id., Dkt. 4-3 at 2. There is also reason to believe the

ACPO was in communication with the San Bernardino County District Attorney’s

Office about the case. See, e.g., Dkt. 4-4 at 2 (SBSD press release stating “The San

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Bernardino District Attorney’s Office reviewed the case and is in consultation with

the Ada County District Attorney’s Office.”).

      Counsel also believes that the prosecution provided the Commission with a

letter from Daniel Walker’s brother Doug Walker. See Dkt. 4-1 at 21. And, according

to the SBSD, their investigation began on November 15, 2023. See Dkt. 4-4 at 2.

With the above facts in mind, and in order to support the part of the claim related

to the prosecution’s use of the Daniel Walker murder to argue against life, Mr.

Creech would request the following from the ACPO:

                a. The statement the prosecutor submitted from Doug Walker to

                   the Commission.

                b. Any and all records pertaining to the 1974 death of Daniel

                   Walker through the present.

                c. Records of any and all contact/correspondence between the

                   ACPO and Doug Walker, brother of Daniel A. Walker, from

                   October 1974 to the present.

                d. Records of contact/correspondence between the ACPO and any

                   representative of the media from September 1, 2023 through the

                   present regarding the Daniel Walker case.

                e. Records of contact/correspondence between the ACPO relating to

                   the Walker case, from September 1, 2023 through the present,

                   and involving the Idaho Department of Correction, the Ada




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                   County Sheriff’s Office, the SBSD, and the San Bernardino

                   District Attorney’s Office.

                f. Copies of all versions of the news releases prepared by the

                   ACPO related to the Daniel Walker case.

                g. Reports written by Tom Taylor about the Daniel Walker case.

                h. Transcripts and/or recordings of any interviews with Mr. Creech

                   and Tom Taylor about the Daniel Walker case.

                i. Reports written by Tom Taylor about the Daniel Walker case.

                j. Reports, transcripts, and/or recordings related to the interview

                   that took place between Mr. Creech and Detective Ted Dykes of

                   the SBSD.

                k. Any records relating to the April 26, 1975 interview of Mr.

                   Creech while he was in the custody of the State of Idaho and

                   relating at least in part to alleged crimes occurring in California.

                l. Reports, transcripts, and or recordings related to any interviews

                   between Mr. Creech and anyone with the SBSD or San

                   Bernardino County District Attorney’s Office.

      Lastly, on the Walker murder, the Commission considered the prosecution’s

statements and PowerPoint slides in its decision. See generally Dkt. 4-1 at 4–15.

The prosecution also stated that Doug Walker had sent a letter of concern to the

Commission as well. See Dkt. 4-1 at 21. Moreover, the only potential source of new




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information undersigned counsel have identified is Tom Taylor. See Dkt. 4-1 at 13–

15. Therefore, Mr. Creech requests the following from the Commission:

                 a. All contact between Tom Taylor and any of the seven

                    Commissioners from September 1, 2023 to the present.

                 b. All records of contact between the Commission and Tom Taylor

                    from September 1, 2023 to the present

               3. Commissioner Recusal

      Mr. Creech contends in his motion for a preliminary injunction that his due

process rights were violated by the three-three tie vote at the Commission leading

to the denial of his commutation petition. See Dkt. 4-1 at 26–28. Under Idaho law,

any favorable recommendation by the Commission would have gone to the

Governor. See Idaho Code § 20-1016(2). The Governor is the official who appoints

the Commissioners. See Idaho Code § 20-1002(1), (2). It is also the Governor who

determines “the duties and responsibilities” of the Executive Director to the

Commission. Idaho Code § 10-1002(9). In the past, there have been communications

between the Commission and the Governor in advance of commutation decisions in

capital cases. See Ex. 4. Here, such communications would potentially shed light on

the recusal and whether any consideration was given to avoiding the due process

problem by allowing a replacement to vote in place of the disqualified Commission.

Mr. Creech consequently wishes to propound an RFP for all communications

between the Commission and the Governor regarding Mr. Creech’s commutation

proceedings.

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      C.     Interrogatories

      Civil discovery invariably involves interrogatories served under Federal Rule

of Civil Procedure 33. As before, Mr. Creech will separate his interrogatories out

between the sock issue and the Walker case.

             1. Sock

      With respect to the sock, the following interrogatories are germane to the

preliminary injunction for reasons expressed above:

                a. Where is the sock?

                b. Provide names of all individuals who handled, accessed, or

                   photographed the sock from September 1, 2023 to the present.

                c. Identify the brand of camera or cameras used to take the

                   photograph of the sock presented at the commutation hearing.

                d. Name the software and programs used to download and/or store

                   the sock photos.

             2. Walker Case

      With respect to Mr. Walker, Mr. Creech envisions the following

interrogatories to the ACPO:

                a. What information did Mr. Spain provide to San Bernardino

                   County that supposedly led to the announcement of Mr. Creech

                   as the suspect? See Ex. 3.




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                b. How did Mr. Taylor inform the ACPO about his supposed

                   recollection of his interviews with Mr. Creech regarding the

                   Walker case?

                c. When did Mr. Taylor inform the ACPO about his supposed

                   recollection of his interviews with Mr. Creech regarding the

                   Walker case?

                d. Who made the decision to describe the Walker case as “solved”

                   in the press release issued by the ACPO on the day of the

                   commutation hearing? See Dkt. 4-3.

      D.    Subpoenas

      In discovery in the U.S. District Courts, litigants are entitled to serve

subpoenas on non-parties under Federal Rule of Civil Procedure 45.

            1. Sock

      Based on points made earlier, Mr. Creech would utilize subpoenas to demand

the following documents:

                a. Evidence logs dating back to the date of the crime in 1981 or for

                   as far back as they exist, as kept by the Ada County Sheriff’s

                   Office or whatever other agency is safeguarding the material.

            2. Walker Case

      Based on points made earlier, Mr. Creech would subpoena the following

documents in connection with the Walker issue:




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                a. Any records held by the Ada County Sheriff’s Office pertaining

                    to Daniel Walker.

                b. Any communications involving any of the following entities

                    pertaining to Daniel Walker, from September 1, 2023 to the

                    present:

                      i.      Idaho Department of Correction

                     ii.      Idaho Attorney General’s Office

                    iii.      SBSD

                    iv.       San Bernardino District Attorney’s Office

                c. Reports written by Tom Taylor regarding Mr. Creech and/or

                    Daniel Walker in the possession of the Ada County Sheriff’s

                    Office.

                d. Transcripts/recordings related to any interviews involving Mr.

                    Creech and San Bernardino law enforcement officials such as

                    Detective Dykes in the possession of the Ada County Sheriff’s

                    Office or the SBSD.

                e. Any records in the possession of the Idaho Attorney General’s

                    Office pertaining to the Walker case.

VII.   Conclusion

       For the reasons set forth above, Mr. Creech respectfully asks for expedited

discovery under the conditions set forth above.




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      DATED this 9th day of February 2024.

                                  /s/ Christopher M. Sanchez
                                  Christopher M. Sanchez
                                  Jonah J. Horwitz
                                  Federal Defender Services of Idaho

                                  Attorneys for Plaintiff Thomas Eugene Creech



                           CERTIFICATE OF SERVICE

       I hereby certify that on this 9th day of February 2024, I electronically filed
the foregoing document with the Clerk of the Court using the CM/ECF system,
which is designed to send a Notice of Electronic Filing to persons including the
following:

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                                        /s/ Julie Hill
                                        Julie Hill




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